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                                                                       Mar 23 2023
 1 ISMAIL J. RAMSEY (CABN 189820)
   United States Attorney                                         Mark B. Busby
 2
                                                            CLERK, U.S. DISTRICT COURT
   THOMAS A. COLTHURST (CABN 99493)
 3 Chief, Criminal Division                              NORTHERN DISTRICT OF CALIFORNIA
                                                                 SAN FRANCISCO
 4 ANNA NGUYEN (CABN 335873)
   Special Assistant United States Attorney
 5
          450 Golden Gate Avenue, Box 36055
 6        San Francisco, California 94102-3495
          Telephone: (415) 436-7200
 7        Fax: (415) 436-7234
          Anna.Nguyen@usdoj.gov
 8
   Attorneys for United States of America
 9
                                   UNITED STATES DISTRICT COURT
10
                                 NORTHERN DISTRICT OF CALIFORNIA
11
                                        SAN FRANCISCO DIVISION
12

13   UNITED STATES OF AMERICA,              )   CASE NO. 3:23-CR-00075 WHA
                                            )
14          Plaintiff,                      )   MEMORANDUM IN SUPPORT OF UNITED
                                            )   STATES’ MOTION FOR DETENTION
15     v.                                   )
                                            )   [UNDER SEAL]
16   OMAR ZELAYA,                           )
                                            )   Date: March 24, 2023
17          Defendant.                      )   Time: 10:00 AM
                                            )   Court: Hon. Lisa J. Cisneros
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 1      I.       INTRODUCTION

 2            On March 7, 2023, a federal grand jury in the Northern District of California returned an

 3 indictment charging Defendant, Omar Zelaya, with five counts of distribution of a controlled substance

 4 in violation of 21 U.S.C. § 841(a)(1) and (b)(1)(C). Dkt. 1. The five counts pertain to cocaine (Count

 5 One), fentanyl (Counts Two, Four, and Five), and methamphetamine (Count Three). Moreover, on

 6 March 16, 2023, in Oakland, on the day of Defendant’s federal arrest and execution of a federal search

 7 warrant, Defendant fled from officers to avoid arrest and discarded suspected fentanyl with a gross

 8 weight of 101 grams and methamphetamine with a gross weight of 54 grams.

 9            The record demonstrates Defendant is both a danger to the community and a significant flight

10 risk. He cannot overcome the presumption that there are no conditions or combination of conditions that

11 can secure his appearance before the Court or provide for the safety of the community. Accordingly, the

12 government respectfully requests the Court order Defendant detained pending trial.

13      II.      FACTUAL BACKGROUND

14            On the morning of March 16, 2023, after obtaining federal warrants for Defendant’s arrest and a

15 search of his premises, San Francisco Police Department (SFPD) officers were surveilling Defendant’s

16 residence in Oakland. Defendant is a repeat fentanyl dealer who primarily deals fentanyl and

17 methamphetamine in San Francisco’s Tenderloin neighborhood, in particular, in the area near Seventh

18 and Market streets—within a one block radius of the federal building, the Ninth Circuit Court of
19 Appeals, a preschool, and a methadone clinic. Defendant previously sold fentanyl and cocaine to

20 undercover officers (UCs) on at least three different occasions in this area between October 2022 and

21 January 2023. Additionally, Defendant had been arrested on September 27, 2022 after—again—running

22 from SFPD officers who attempted to arrest him after on-viewing drugs in possession; on that occasion

23 too, Defendant had in his possession cocaine, fentanyl, and methamphetamine. Notably, Defendant has

24 been on state pre-trial release since then, during which he repeatedly sold drugs to UCs.

25            On March 16, 2023, at approximately 7:58 AM, officers sent text messages to Defendant’s

26 known cell phone number to arrange a drug transaction. Defendant responded that he had the drugs and

27 was available to meet that morning at a location just a few blocks away from his residence in Oakland.

28            At approximately 8:39 AM, officers observed Defendant leave his residence and walked in the

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 1 direction towards the agreed upon meet-up location. When officers attempted to arrest Defendant, he

 2 immediately fled from the officers. The officers chased Defendant on foot and gave verbal commands

 3 for Defendant to stop but he continued to double back and evade the officers. As Defendant fled,

 4 officers observed him toss aside two separate bags of suspected narcotics that were later seized. When

 5 officers finally apprehended Defendant, he continued to fight and resist as the officers tried to place him

 6 under arrest. The two separate bags of discarded suspected narcotics were processed and are believed to

 7 be suspected fentanyl with a gross weight of 101 grams and suspected methamphetamine with a gross

 8 weight of 54 grams.

 9             A subsequent search of Defendant’s residence revealed digital scales and clear plastic bags

10 consistent with packaging materials for narcotics.

11      III.      LEGAL STANDARD

12             Under the Bail Reform Act of 1984, the Court must detain a defendant before trial without bail

13 where “no condition or combination of conditions will reasonably assure the appearance of the person as

14 required and the safety of any other person and the community.” 18 U.S.C. § 3142(e)(1). Detention is

15 appropriate where a defendant is either a danger to the community or a flight risk; the government need

16 not prove that both factors are present. United States v. Motamedi, 767 F.2d 1403, 1406 (9th Cir. 1985).

17 A finding that a defendant is a danger to the community must be supported by clear and convincing

18 evidence, but a finding that a defendant is a flight risk need only be supported by a preponderance of the
19 evidence. Id.

20             “[T]he Bail Reform Act mandates an individualized evaluation guided by the factors articulated

21 in [18 U.S.C.] § 3142(g).” United States v. Diaz-Hernandez, 943 F.3d 1196, 1199 (9th Cir. 2019).

22 Those factors are: (i) the nature and circumstances of the offense charged; (ii) the weight of the evidence

23 against the defendant; (iii) the history and characteristics of the defendant, including the defendant’s

24 character, physical and mental condition, family and community ties, past conduct, history relating to

25 drug or alcohol abuse, criminal history, and record concerning appearance at court proceedings, as well

26 as whether the crime was committed while the defendant was on probation or parole; and (iv) the nature

27 and seriousness of the danger to any person or to the community that would be posed by the defendant’s

28 release. See 18 U.S.C. § 3142(g); United States v. Winsor, 785 F.2d 755, 757 (9th Cir. 1986).

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 1            Where there is probable cause that a defendant has violated an offense for which a maximum of

 2 ten years in prison or more is prescribed in the Controlled Substances Act, courts apply a rebuttable

 3 presumption that no condition or combination of conditions will reasonably assure Defendant’s

 4 appearance as required and the safety of the community. See 18 U.S.C. § 3142(e)(3)(A). Under this

 5 scheme, the burden of production shifts to Defendant. United States v. Hir, 517 F.3d 1081, 1086 (9th

 6 Cir. 2008). Even if Defendant rebuts the presumption, the presumption is not erased; instead, it remains

 7 in the case as an evidentiary finding militating against release that is to be weighted along with other

 8 relevant factors. See id. (citation omitted).

 9      IV.      ARGUMENT

10               1. Defendant faces a rebuttable presumption in favor of detention.

11            When Defendant was arrested, he discarded large amounts of fentanyl and methamphetamine

12 that he possessed while he was likely enroute to meet with the UC to complete a drug transaction. The

13 variety and total quantities of drugs are consistent with an intent to distribute. Adding up the amounts of

14 narcotics sold or seized across all of Defendant’s law enforcement contacts since October 2022,

15 Defendant had a total combined drug weight of approximately 239 grams of fentanyl, 68 grams of

16 methamphetamine, and 15 grams of cocaine. There is probable cause to believe Defendant committed

17 an offense for which a maximum term of imprisonment of ten years or more is prescribed in the

18 Controlled Substances Act, and the relevant conduct reveals a consistent pattern of narcotics trafficking.
19 As a result, there is a rebuttable presumption that no condition or combination of conditions will

20 reasonably assure the appearance of the person as required and the safety of the community. See 18

21 U.S.C. § 3142(e)(3)(A). As described below, Defendant will be unable to overcome this presumption.

22               2. Defendant cannot overcome the presumption that he is a flight risk.

23            Defendant has no known permanent address and is considered a “transient” according to his

24 criminal history sheet. At the same time, Defendant’s status in the United States is unclear and a search

25 of his residence revealed several Honduras passports issued to other individuals. Defendant previously

26 fled from SFPD officers when arrested on September 17, 2022, fled again on the morning of his federal

27 arrest, and in the meantime, sold at least 85 grams of fentanyl (not including the drugs he had in his

28 possession at the time of the two arrests), all while on pre-trial release pending a state court case.

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 1 Defendant is not amenable to supervision and accordingly is a demonstrable flight risk.

 2          Defendant has shown he possesses the financial means to abscond as he possessed narcotics with

 3 a street value of over $5,000. He also chose to discard approximately 101 grams of fentanyl and 54

 4 grams of methamphetamine in the streets of Oakland. It is also reasonable to think that he has

 5 connections to networks that may assist him in his flight from court-imposed oversight given his access

 6 to over 362 grams of total combined weight of drugs, over a six-month period.

 7          Lastly, Defendant faces a serious penalty if convicted. Even if the safety valve were to apply,

 8 Defendant still faces a Guidelines range of thirty to thirty-seven months (assuming acceptance) — which

 9 is not insignificant. That penalty—more severe than any penalty he has faced to date—creates a strong

10 incentive for Defendant to flee immediately if released. See United States v. Gebro, 948 F.2d 1118,

11 1122 (9th Cir. 1991) (strong evidence of guilt “makes it more likely that he will flee”). The

12 preponderance of the evidence supports finding Defendant to be a flight risk.

13              3. Defendant cannot overcome the presumption that he is a danger to the community.

14          Although all controlled substances are dangerous, fentanyl is particularly so. Just two

15 milligrams of fentanyl can kill, and Defendant was caught in this instant with possession of 101 grams

16 not including the fentanyl seized from his arrest in October 2022, and the fentanyl he sold to the UC in

17 December 2022 and January 2023. In between the transactions with the UC in December 2022 and

18 January 2023, Defendant sent numerous text messages to the UC to share his inventory and quality of
19 narcotics along with photographs to see if the UC would want to purchase from him. If Defendant is

20 released and able to continue distributing any controlled substances—but particularly fentanyl—that

21 poses a severe danger to the community and all those who come to the Tenderloin and surrounding areas

22 searching for fentanyl or who even inadvertently come into contact with the substance. See, e.g., United

23 States v. Alfonso Ramos, No. 3:20-mj-71799-MAG-1 (EJD), 2020 U.S. Dist. LEXIS 244831, at *7 (N.D.

24 Cal. Dec. 29, 2020) (sale of approximately 227 grams of fentanyl showed defendant posed a danger to

25 the community because “[f]entanyl is among the most dangerous and deadly illegal drugs”).

26          Notably, Defendant sold fentanyl near Seventh and Market repeatedly—within a block of a

27 federal building, a courthouse, a daycare, and a methadone clinic. Defendant sold drugs repeatedly—

28 this was not a one-time mistake. Rather, it was a pattern of calculated business conduct. Defendant

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 1 essentially worked shifts in San Francisco’s Tenderloin neighborhood to sell fentanyl as a day job, but

 2 also demonstrated that he was willing to sell in his own backyard, so to speak, arranging for the sale of

 3 fentanyl near his residence in Oakland. Defendant is a patent danger to the community.

 4      V.      CONCLUSION

 5           Defendant cannot overcome the presumption that there are no conditions that will reasonably

 6 assure his appearance at court proceedings or ensure the safety of the community. The Court should

 7 order Defendant detained pending trial.

 8

 9 DATED: March 23, 2023                                        Respectfully submitted,

10                                                              ISMAIL J. RAMSEY
                                                                United States Attorney
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12
                                                                /s/ Anna Nguyen___________
13                                                              ANNA NGUYEN
                                                                Special Assistant United States Attorney
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